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                                    United States District Court
                                     Middle District of Florida
                                         Orlando Division

    EXPPHA, LLC,

                  Plaintiff,
    v.                                                  Case No. 6:12-cv-1928-Orl-37GJK

    KEPRO ACQUISITIONS, INC.,

                  Defendant.
                                                /

           CASE MANAGEMENT AND SCHEDULING ORDER
           Having considered the amended case management report prepared by the

    parties, see Fed. R. Civ. P. 26 (f) and Local Rule 3.05 (c), the Court enters this

    case management and scheduling order:

     Mandatory Initial Disclosures (pursuant to Fed. R. Civ. P.            March 29, 2013
     26(a)(1) as amended effective December 1, 2010)
     Certificate of Interested Persons and Corporate Disclosure                 completed
     Statement
     Motions to Add Parties or to Amend Pleadings                           April 26, 2013
     Disclosure of Expert Reports                       Plaintiff:     September 6, 2013
                                                      Defendant:      September 20, 2013
     Discovery Deadline                                                November 15, 2013
     Dispositive Motions, Daubert, and Markman Motions (if any)        December 31, 2013
     Meeting In Person to Prepare Joint Final Pretrial Statement             June 2, 2014
     Joint Final Pretrial Statement (Including a Single Set of              June 12, 2014
     Jointly Proposed Jury Instructions and Verdict Form, also
     sent to Chamber’s email
     [chambers_flmd_Dalton@flmd.uscourts.gov] in Microsoft
     Word®, Voir Dire Questions, Witnesses Lists, Exhibit Lists
     on Approved Form.); Trial Briefs
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     All Other Motions Including Motions In Limine                           May 29, 2014
     (MULTIPLE MOTIONS IN LIMINE ARE NOT FAVORED.
     ALL REQUESTS TO LIMIT EVIDENCE SHALL
     THEREFORE BE INCLUDED IN A SINGLE MOTION NOT
     TO EXCEED 25 PAGES WITHOUT LEAVE OF COURT.
     RESPONSES ARE LIMITED TO 20 PAGES WITHOUT
     LEAVE OF COURT.)
     Final Pretrial Conference                                               June 19, 2014
                                                                               at 1:15 p.m.
     Trial Term Begins                                                         July 7, 2014
                                                                               at 9:00 a.m.
     Estimated Length of Trial                                                      7 days
     Jury/Non Jury                                                                        Jury
     Mediation                                            Deadline:    November 29, 2013
                                                          Mediator:     Terry White, Esq.
     Designated Lead Counsel shall contact opposing Address:                800-264-2622
     counsel and the mediator to reserve a conference date                 or David Henry
     and shall file a Notice with the Court within fourteen                 407-210-2796
     days of the date of this Order advising of the dateT.elephone:

     Designated Lead Counsel                      Attorney Name:
        Pursuant to Local Rule 9.04(a)(3)                             Tucker H. Byrd, Esq.
     Lead Counsel Telephone Number            Telephone Number:
                                                                             407-420-1414

           The purpose of this order is to discourage wasteful pretrial activities, and to

    secure the just, speedy, and inexpensive determination of the action. See Fed. R.

    Civ. P. 1; Local Rule 1.01(b). This order controls the subsequent course of this

    proceeding. Fed. R. Civ. P. 16(b), (e). Counsel and all parties (both represented

    and pro se) shall comply with this order, with the Federal Rules of Civil Procedure,

    with the Local Rules of the United States District Court for the Middle District of

    Florida, and with the Administrative Procedures for Case Management/Electronic

    Case Filing. A copy of the Local Rules and Administrative Procedures may be

    viewed at http://www.flmd.uscourts.gov. Counsel shall also comply with the Ideals


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    and Goals of Professionalism adopted by the Board of Governors of the Florida Bar

    on May 16, 1990 available at www.floridabar.org (Professional Practice-Henry

    Latimer Center for Professionalism); Local Rule 2.04(g).

    I.     DISCOVERY

            A.     Certificate of Interested Persons and Corporate Disclosure
    Statement – This Court has previously ordered each party, governmental party,
    intervenor, non-party movant, and Rule 69 garnishee to file and serve a Certificate
    of Interested Persons and Corporate Disclosure Statement using a mandatory form.
    No party may seek discovery from any source before filing and serving a Certificate
    of Interested Persons and Corporate Disclosure Statement. A motion,
    memorandum, response, or other paper – including emergency motion – may be
    denied or stricken unless the filing party has previously filed and served a
    Certificate of Interested Persons and Corporate Disclosure Statement. Any party
    who has not already filed and served the required certificate shall do so within the
    time required by this order, or sanctions will be imposed.

           B.     Discovery Not Filed – The parties shall not file discovery materials
    with the Clerk except as provided in Local Rule 3.03. The Court encourages the
    exchange of discovery requests on diskette or by email. See Local Rule 3.03(e).

            C.     Limits on Discovery – Absent leave of Court, the parties may take
    no more than ten depositions per side (not per party). Fed. R. Civ. P. 30(a)(2)(A);
    Fed. R. Civ. P. 31(a)(2)(A). Absent leave of Court, the parties may serve no more
    than twenty-five interrogatories, including sub-parts. Fed. R. Civ. P. 33(a). Absent
    leave of the Court or stipulation by the parties, each deposition is limited to one day
    of seven hours. Fed. R. Civ. P. 30(d)(2). The parties may agree by stipulation on
    other limits on discovery within the context of the limits and deadlines established
    by this Case Management and Scheduling Order, but the parties may not alter the
    terms of this Order without leave of Court. See, e.g., Fed. R. Civ. P. 29.

          D.     Discovery Deadline – Each party shall timely serve discovery
    requests so that the Rules allow for a response prior to the discovery deadline. The
    Court may deny as untimely all motions to compel filed after the discovery deadline.

            E.     Disclosure of Expert Testimony – On or before the date set forth in
    the above table for the disclosure of expert reports, the party shall fully comply with
    Fed. R. Civ. P. 26(a)(2) and 26(e). Expert testimony on direct examination at trial
    will be limited to the opinions, bases, reasons, data, and other information disclosed
    in the written expert report disclosed pursuant to this Order. Failure to disclose
    such information may result in the exclusion of all or part of the testimony of the
    expert witness.

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           F.      Confidentiality Agreements – The parties may reach their own
    agreement regarding the designation of materials as “confidential.” There is no
    need for the Court to endorse the confidentiality agreement. The Court
    discourages unnecessary stipulated motions for a protective order. The Court will
    enforce stipulated and signed confidentiality agreements. See Local Rule 4.15.
    Each confidentiality agreement or order shall provide, or shall be deemed to
    provide, that “no party shall file a document under seal without first having obtained
    an order granting leave to file under seal on a showing of particularized need.” See
    also “Motions to File Under Seal” below.

    II.    MOTIONS

            A.     Certificate of Good Faith Conference – Before filing any motion in a
    civil case, the moving party shall confer with the opposing party in a good faith
    effort to resolve the issues raised by the motion, and shall file with the motion a
    statement certifying that the moving party has conferred with the opposing party,
    and that the parties have been unable to agree on the resolution of the motion.
    Local Rule 3.01(g); Fed. R. Civ. P. 26(c). A certification to the effect that opposing
    counsel was unavailable for a conference before filing a motion is insufficient to
    satisfy the parties' obligation to confer. See Local Rule 3.01(g). No certificate is
    required in a motion for injunctive relief, for judgment on the pleadings, for summary
    judgment, to dismiss or to permit maintenance of a class action, to dismiss for
    failure to state a claim upon which relief can be granted, or to involuntarily dismiss
    an action. Local Rule 3.01(g). Nonetheless, the Court expects that a party alleging
    that a pleading fails to state a claim will confer with counsel for the opposing party
    before moving to dismiss and will agree to an order permitting the filing of a curative
    amended pleading. Fed. R. Civ. P. 15. The term "counsel" in Rule 3.01(g) includes
    pro se parties acting as their own counsel, thus requiring movants to confer with pro
    se parties and requiring pro se movants to file Rule 3.01(g) certificates. The term
    “confer” in Rule 3.01(g) requires a substantive conversation in person or by
    telephone in a good faith effort to resolve the motion without court action and does
    not envision an exchange of ultimatums by fax, letter or email. Counsel who merely
    “attempt” to confer have not “conferred.” Counsel must respond promptly to
    inquiries and communications from opposing counsel. Board of Governors of the
    Florida Bar, Ideals and Goals of Professionalism, ¶ 6.10 and Creed of
    Professionalism ¶ 8 (adopted May 16, 1990), available at www.floridabar.org
    (Professional Practice-Henry Latimer Center for Professionalism.) The Court will
    deny motions that fail to include an appropriate, complete Rule 3.01(g) certificate.

           B.     Extension of Deadlines

           The deadlines established in this Case Management and Scheduling Order
    are not advisory but must be complied with absent approval of the Court.



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                    1.      Dispositive Motions Deadline and Trial Not Extended –
    Motions to extend the dispositive motions deadline or to continue the trial are
    generally denied. See Local Rule 3.05(c)(2)(E). The Court will grant an exception
    only when necessary to prevent manifest injustice. A motion for a continuance of
    the trial is subject to denial if it fails to comply with Local Rule 3.09. The Court
    cannot extend a dispositive motion deadline to the eve of trial. In light of the district
    court’s heavy trial calender, at least four months are required before trial to receive
    memoranda in opposition to a motion for summary judgment, and to research and
    resolve the dispositive motion.

                   2.      Extensions of Other Deadlines Disfavored – Motions for an
    extension of other deadlines established in this order, including motions for an
    extension of the discovery period, are disfavored. The deadline will not be
    extended absent a showing of good cause. Fed. R. Civ. P. 16(b); Local Rule
    3.09(a). Failure to complete discovery within the time established by this Order
    shall not constitute cause for continuance. A motion to extend an established
    deadline normally will be denied if the motion fails to recite that: 1) the motion is
    joint or unopposed; 2) the additional discovery is necessary for specified reasons;
    3) all parties agree that the extension will not affect the dispositive motions deadline
    and trial date; 4) all parties agree that any discovery conducted after the dispositive
    motions date established in this Order will not be available for summary judgment
    purposes; and 5) no party will use the granting of the extension in support of a
    motion to extend another date or deadline. The filing of a motion for extension of
    time does not toll the time for compliance with deadlines established by Rule or
    Order.

           C.     Motions to Compel and for Protective Order – Motions to compel
    and motions for a protective order will be denied unless the motion fully complies
    with Local Rule 3.04, requiring the motion to quote in full each interrogatory,
    question, or request; to quote in full opposing party’s objection and grounds, or
    response which is asserted to be insufficient; and to state the reasons the motion
    should be granted.

          D.      Motions to File Under Seal – Whether documents filed in a case
    may be filed under seal is a separate issue from whether the parties may agree that
    produced documents are confidential. Motions to file under seal are disfavored,
    and such motions will be denied unless they comply with Local Rule 1.09.

           E.     Memoranda in Opposition – Each party opposing any written
    motion, except a motion for summary judgment under Section II H below, shall file
    and serve, within fourteen days after being served with such motion, a legal
    memorandum with citation of authorities in opposition to the relief requested. Local
    Rule 3.01(b). Where no memorandum in opposition has been filed, the Court
    routinely grants the motion as unopposed. Motions titled as “unopposed” or
    “agreed” normally come to the Court’s attention prior to the deadline for response.

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            F.     Emergency Motions – The Court may consider and determine
    emergency motions at any time. Local Rule 3.01(e). Counsel should be aware that
    the designation “emergency” may cause a judge to abandon other pending matters
    in order to immediately address the “emergency.” The Court will sanction any
    counsel or party who designates a motion as “emergency” under circumstances
    that are not a true emergency. It is not an emergency when counsel has delayed
    discovery until the end of the discovery period. Promptly after filing an emergency
    motion, counsel shall place a telephone call to the chambers of the presiding judge
    to notify the court that an emergency motion has been filed.

           G.     Page Limits - No party shall file a motion and supporting
    memorandum in excess of twenty-five pages. Local Rule 3.01(a). No party shall file
    an opposing brief or memorandum in excess of twenty pages. Local Rule 3.01(b).
    A motion requesting leave to file either a motion in excess of twenty-five (25) pages,
    a response in excess of twenty (20) pages, or a reply or further memorandum shall
    not exceed three (3) pages, shall specify the length of the proposed filing, and shall
    not include, as an attachment or otherwise, the proposed motion, response, reply,
    or other paper. Local Rule 3.01(d). Motions for relief from page limitations are
    disfavored and will not be granted without a specific showing of good cause.

          H.     Motions for Summary Judgment

                    1.     Required Materials – A motion for summary judgment shall
    specify the material facts as to which the moving party contends there is no
    genuine issue for trial, and shall include a memorandum of law, and shall be
    accompanied by affidavits and other evidence in the form required by Fed. R. Civ.
    P. 56. The motion for summary judgment and supporting memorandum of law shall
    be presented in a single document of not more than twenty-five pages. Local Rule
    3.01(a). Each party opposing a motion for summary judgment shall serve, within
    thirty days after being served with such motion, a legal memorandum with citation
    of authorities in opposition to the relief requested as required by Local Rule 3.01(b)
    of not more than twenty pages. The memorandum in opposition shall specify the
    material facts as to which the opposing party contends there exists a genuine issue
    for trial, and shall be accompanied by affidavit(s) and other evidence in the form
    required by Fed. R. Civ. P. 56. The moving party may file a reply memorandum,
    not exceeding ten pages, within fourteen days after the response is served. Both
    the movant and the party opposing summary judgment shall provide pinpoint
    citations to the pages and lines of the record supporting each material fact.
    General references to a deposition are inadequate. On or before the date on which
    the memorandum in opposition is due, the parties may also file a stipulation of
    agreed material facts signed by the movant and the parties opposing summary
    judgment pursuant to Local Rule 4.15. Material facts set forth in the stipulation will
    be deemed admitted for the purposes of the motion.



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                   2.      Under Advisement – The Court takes a motion for summary
    judgment under advisement forty-five days from the date it is served, unless the
    Court orders a different date. Unless specifically ordered, the Court will not hold a
    hearing on the motion. Failure to oppose any motion for summary judgment may
    result in the entry of a judgment for the movant without further proceedings. See
    Milburn v. United States, 734 F.2d 762, 765 (11th Cir. 1984); Griffith v. Wainwright,
    772 F.2d 822, 825 (11th Cir. 1985) (per curiam); Fed.R.Civ.P. 56 (e). All
    requirements in this Order apply to pro se litigants as well as to parties represented
    by counsel.

            I.     Daubert and Markman Motions – On or before the date established
    in the above table for the filing of motions for summary judgment, any party seeking
    a ruling pursuant to Daubert v. Merrell Dow Pharmaceuticals, Inc., 509 U.S. 579
    (1993) (admissibility of expert opinions) or pursuant to Markman v. Westview
    Instruments, Inc., 517 U.S.370 (1996) (interpretation of a patent claim) shall file and
    serve an appropriate motion. The parties shall prepare a glossary of technical or
    scientific terms where appropriate for the Court.

           J.     All Other Motions Including Motions In Limine – On or before the
    date established in the above table, the parties shall file and serve all other motions
    including motions in limine. Local Rule 3.01(g) applies, and the parties shall confer
    to define and limit the issues in dispute.

    III.   JOINT FINAL PRETRIAL STATEMENT

            A.     Meeting In Person – On or before the date established in the above
    table, lead trial counsel for all parties and any unrepresented parties shall meet
    together in person pursuant to Local Rule 3.06(b) in a good faith effort to:

                  1.    settle the case; the parties shall thoroughly and exhaustively
    discuss settlement of the action before undertaking the extensive efforts needed to
    conduct final preparation of the case for trial and to comply with the requirements of
    this order;

                   2.     stipulate to as many facts and issues as possible; in order to
    assist the Court, the parties shall make an active and substantial effort to stipulate
    at length and in detail as to agreed facts and law, and to limit, narrow, and simplify
    the issues of fact and law that remain contested; as a rule, parties who have
    complied with this requirement in good faith will file a Joint Final Pretrial Statement
    listing far more agreed facts and principles of law than those that remain for
    determination at trial;

                   3.    tag, mark, identify, examine, copy, and list all original trial
    exhibits (including actual document exhibits) that any party will offer in evidence or
    otherwise tender to any witness during trial [Local Rule 3.06(b)(3) and 3.07(a)]

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    (instructions for pre-marking of exhibits attached to this order); and prepare and
    exchange a final exhibit list on the Clerk’s approved form (attached to this order)
    bearing a description identifying each exhibit and sponsoring witness [Local Rule
    3.07(b)]; it is anticipated that counsel will agree to the admission of the bulk of the
    opposing parties’ exhibits without objection and shall designate on the exhibit list
    the exhibits which the Court may admit without objection at trial. Absent good
    cause, the Court will not receive in evidence over objection any exhibits – including
    charts, diagrams, and demonstrative evidence – not presented to opposing counsel
    or unrepresented parties for inspection and copying at the required meeting or not
    listed in the joint final pretrial statement. Photographs of sensitive exhibits (i.e.,
    guns, drugs, valuables) and of non-documentary evidence, and reductions of
    documentary exhibits larger than 8 ½” by 14” to be substituted for original exhibits
    after conclusion of the trial must be presented to opposing counsel for examination
    at the meeting to prepare the Joint Final Pretrial Statement. Objections to such
    photographs or reductions of exhibits must be listed in the Joint Final Pretrial
    Statement. The parties are advised that the design of certain courtrooms may
    preclude the use of large exhibits and posters in a jury trial. The parties are
    directed to contact the trial judge’s courtroom deputy clerk to discuss exhibits and
    equipment to be used during trial; and

                 4.       exchange the names and addresses of all witnesses and state
    whether they will likely be called.

           B.     The Joint Final Pretrial Statement

                   1.     Form of Joint Final Pretrial Statement – On or before the
    date established in the above table, the parties shall file a Joint Final Pretrial
    Statement that strictly conforms to the requirements of Local Rule 3.06(c) and this
    Order. Anticipated length of trial based on issues remaining at the time of the
    pretrial conference must be included as a separate line item in the parties Joint
    Final Pretrial Statement. This case must be fully ready for trial at the time that
    the Joint Final Pretrial Statement is due. Lead trial counsel for all parties, or the
    parties themselves if unrepresented, shall sign the Joint Final Pretrial Statement.
    The Court will strike pretrial statements that are unilateral, incompletely executed,
    or otherwise incomplete. Inadequate stipulations of fact and law will be stricken.
    Sanctions may be imposed for failure to comply, including the striking of pleadings.
    At the conclusion of the final pretrial conference, all pleadings are deemed to
    merge into the Joint Final Pretrial Statement, which will control the course of the
    trial. Local Rule 3.06(e).

                  2.      Exhibit List – The exhibit list filed in compliance with Local
    Rules 3.06(c)(4) and 3.07(b) must be on the Clerk’s approved form (attached to this
    order). Unlisted exhibits will not be received into evidence at trial, except by order
    of the Court in the furtherance of justice. See Local Rule 3.06(e). The Joint Final
    Pretrial Statement must attach each party’s exhibit list on the approved form listing

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    each specific objection (“all objections reserved” does not suffice) to each
    numbered exhibit that remains after full discussion and stipulation. Objections not
    made – or not made with specificity – are waived.

            Ten (10) days prior to trial, the parties shall exchange a list of those exhibits
    they definitely intend to introduce in evidence at trial (the "A" list), and a list of those
    exhibits they may seek to introduce at trial (the "B" list). Benchbooks containing the
    "A" exhibits shall be supplied to the Court (these are the original exhibits which
    include the appropriate colored exhibit tags stapled to the upper right hand corner
    of the first page - tags can be found at the bottom of this web-page), for the Judge
    and Witness Box at the outset of the trial, together with an index and matrix
    reflecting any objections thereto. The bench and witness sets do not require the
    exhibits tags however counsel shall use number tabs to tab out the exhibits for
    quick reference. All exhibits on the "A" list of the presenting party which are not
    objected to shall be introduced and admitted at the outset of that party's case. All
    exhibits shall be numbered consecutively, preferably with the "A" list exhibits being
    numbered first.

             To avoid duplication of exhibits and to prevent confusion in the record, the
    parties are encouraged to submit all stipulated exhibits as joint exhibits in a single
    list rather than individually marked by each party. For example, if medical records or
    contract documents are being stipulated into evidence they should be marked as a
    Joint exhibit and not listed separately by both (all) parties. Each parties individual
    exhibit list would then include only those additional exhibits to which objections
    have been asserted with the specific objection noted on the exhibit tag.

                   3.      Witness List – On the witness list required by Local Rule
    3.06(c)(5), the parties and counsel shall designate which witnesses will definitely be
    called (the “A” List), and also designate which witnesses may be called (the “B”
    List). Absent good cause, the Court will not permit over objection testimony from
    unlisted witnesses at trial. This restriction does not apply to true rebuttal witnesses
    (i.e., witnesses whose testimony could not reasonably have been foreseen to be
    necessary). Records custodians may be listed but will not likely be called at trial,
    except in the rare event that authenticity or foundation is contested. For good
    cause shown in compelling circumstances, the Court may permit presentation of
    testimony in open court by contemporaneous transmission from a different location.
    Fed.R.Civ.P. 43(a).

                  4.      Depositions – The Court encourages stipulations of fact to
    avoid calling unnecessary witnesses. Where a stipulation will not suffice, the Court
    permits the use of depositions. At the required meeting, counsel and
    unrepresented parties shall agree upon and specify in writing in the Joint Final
    Pretrial Statement the pages and lines of each deposition (except where used
    solely for impeachment) to be published to the trier of fact. The parties shall
    include in the Joint Final Pretrial Statement a page-and-line description of any

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    testimony that remains in dispute after an active and substantial effort at resolution,
    together with argument and authority for each party’s position. The parties shall
    prepare for submission and consideration at the final pretrial conference or trial an
    edited and marked copy (as to the portion offered by each party) of any deposition
    or deposition excerpt which is to be offered in evidence.

           Five (5) days prior to trial, the parties shall file with the Court color-coded
    copies of deposition transcripts (preferably mini-script versions), reflecting, in
    different highlighted colors, the deposition excerpts designated by each party to be
    read at trial, with objections noted in the margin. Unresolved objections to
    videotape depositions shall be submitted to the Court ten (10) days prior to trial.

                  5.      Joint Jury Instructions, Verdict Form, Voir Dire Questions
    – In cases to be tried before a jury, the parties shall attach to the Joint Final Pretrial
    Statement a single jointly-proposed set of jury instructions in order of
    presentation to the jury, together with a single jointly-proposed jury verdict form.
    Local Rule 5.01(c). The parties should be considerate of their jury, and therefore
    should submit short, concise special verdict forms. The Court prefers pattern jury
    instructions approved by the United States Court of Appeals for the Eleventh
    Circuit. A party may include at the appropriate place in the single set of jointly-
    proposed jury instructions a contested charge, so designated with the name of the
    requesting party and bearing at the bottom a citation of authority for its inclusion,
    together with a summary of the opposing party’s objection. The Court will deny
    outright a proposed instruction that is “slanted” in any way. The Court requires that
    the parties, send to the Chamber's email
    [chambers_flmd_Dalton@flmd.uscourts.gov] the single set of jury instructions
    and verdict form, in Microsoft Word®. The parties may include in the Joint Final
    Pretrial Statement a single list of jointly-proposed questions for the Court to ask the
    venire during voir dire.

             C.     Coordination of Joint Final Pretrial Statement – All parties are
    responsible for filing a Joint Final Pretrial Statement in full compliance with this
    order. Plaintiff’s counsel (or plaintiff if all parties are proceeding pro se) shall have
    the primary responsibility to coordinate compliance with the sections of this order
    that require a meeting of lead trial counsel and unrepresented parties in person and
    the filing of a Joint Final Pretrial Statement and related material. See Local Rule
    3.10 (relating to failure to prosecute). If the plaintiff is proceeding pro se, defense
    counsel shall coordinate compliance. If counsel is unable to coordinate such
    compliance, counsel shall timely notify the Court by written motion or request for a
    status conference.

           D.     Trial Briefs and Other Materials

                 Trial Briefs – In the case of a non-jury trial, on or before the date
    established above, each party shall file and serve a trial brief with proposed findings

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    of fact and conclusions of law, and send it to the Chamber's email in Microsoft
    Word® format. The parties may file a trial brief on or before the same date in the
    case of a jury trial.

    IV.   MEDIATION

            A.     Purpose – To minimize costly pretrial procedures in a case that may
    be equitably settled, and to secure the just, speedy, and inexpensive determination
    of this action, all parties shall participate in good faith in mediation. See
    Fed.R.Civ.P. 1; Fed.R.Civ.P. 16(a)(5); Local Rules 1.01(b), 9.01(b).

            B.     The Mediator – This Court prefers to appoint the certified and
    approved mediator, if any, chosen by the parties in their Case Management Report.
    If no such mediator has been chosen, the Court designates the default mediator
    listed in the above table pursuant to Local Rule 9.04. The mediator shall conduct
    the mediation conference in the conference room of the mediator’s law firm or office
    at a time and date selected by the mediator within the confines of this order.

           C.     Last Date to Mediate – The parties shall complete the mediation
    conference on or before the mediation date set forth earlier in the above table.
    Despite Local Rule 9.05(d), neither the mediator nor the parties have authority to
    continue the mediation conference beyond this date except on express order of the
    Court. In any Track Three case, complex case, or case involving multiple parties,
    the mediator has the authority to conduct the mediation in a series of sessions and
    in groups of parties so that mediation is complete by the last date to mediate.

           D.     Mediator’s Authority – The mediator shall have all powers and
    authority to conduct a mediation and to settle this case as are described in Chapter
    Nine of the Local Rules, except as limited by this order. The mediation shall
    continue until adjourned by the mediator. In order to coordinate the mediation
    conference, the mediator may set an abbreviated scheduling conference prior to
    the scheduled mediation. At such time, the mediator may designate one or more
    coordinating attorneys who shall be responsible for conferring with the mediator
    regarding the mediation conference. If necessary, the coordinating attorney may
    coordinate the rescheduling of a mediation conference within the time allowed in
    this order.

          E.     General Rules Governing Mediation Conference

                  1.    Case Summaries – Not less than two days prior to the
    mediation conference, each party shall deliver to the mediator a written summary of
    the facts and issues of the case.

                  2.  Identification of Corporate Representative – As part of the
    written case summary, counsel for each corporate party shall state the name and

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    general job description of the employee or agent who will attend and participate
    with full authority to settle on behalf of the corporate party.

                  3.      Attendance Requirements and Sanctions – Each attorney
    acting as lead trial counsel, and each party (and in the case of a corporate party, a
    corporate representative) with full authority to settle, shall attend and participate in
    the mediation conference. In the case of an insurance company, the term “full
    authority to settle” means authority to settle for the full value of the claim or policy
    limit. The Court will impose sanctions upon lead counsel and parties who do not
    attend and participate in good faith in the mediation conference.

                 4.     Authority to Declare Impasse – Participants shall be
    prepared to spend as much time as may be necessary to settle the case. No
    participant may force the early conclusion of a mediation because of travel plans or
    other engagements. Only the mediator may declare an impasse or end the
    mediation.

                   5.     Restrictions on Offers to Compromise – Evidence of an
    offer to compromise a claim is not admissible to prove liability for or invalidity of the
    claim or its amount. Fed. R. Evid. 408 (includes evidence of conduct or statements
    made in compromise negotiations); Local Rule 9.07(b). All discussion,
    representations and statements made at the mediation conference are privileged
    settlement negotiations. Except in a supplemental proceeding to enforce a
    settlement agreement, nothing related to the mediation conference shall be
    admitted at trial or be subject to discovery. Local Rule 9.07; Fed. R. Evid. 408. A
    communication between a party and a mediator during a private caucus is also
    confidential, unless the party tells the mediator that it is not.

           F.     Compensation of Mediators – Absent agreement of the parties and
    the mediator, mediators shall be compensated at a reasonable hourly rate provided
    by order of the Court after consideration of the amount in controversy, the nature of
    the dispute, the resources of the parties, the prevailing market rate for mediators in
    the applicable market, the skill and experience of the mediator, and other pertinent
    factors. Unless altered by order of the Court, the cost of the mediator's services
    shall be borne equally by the parties to the mediator conference.

           G.     Settlement and Report of Mediator – A settlement agreement
    reached between the parties shall be reduced to writing and signed by the parties
    and their attorneys in the presence of the mediator. See also Local Rule 9.06(b)
    and 3.08. Within seven days of the conclusion of the mediation conference, the
    mediator shall file and serve a written mediation report stating whether all required
    parties were present, whether the case settled, and whether the mediator was
    forced to declare an impasse. See Local Rule 9.06. The mediator may report any
    conduct of a party or counsel that falls short of a good faith effort to resolve the


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    case by agreement or fails to comply with this Order. See Local Rule 9.05(e),
    9.06(a).

    V.       FINAL PRETRIAL CONFERENCE

           A.     Lead Trial Counsel and Parties – If a final pretrial conference is set,
    lead trial counsel and local counsel for each party, together with any
    unrepresented party, must attend in person unless previously excused by the
    Court. See Local Rule 3.06(d); Fed.R.Civ.P. 16(d).

            B.      Substance of Final Pretrial Conference – Since this case must be
    fully ready for trial at the time that the Joint Final Pretrial Statement is due, at the
    final pretrial conference, all counsel and parties must be prepared and authorized to
    accomplish the purposes set forth in Fed.R.Civ.P. 16 and Local Rule 3.06, including
    formulating and simplifying the issues; eliminating frivolous claims and defenses;
    admitting facts and documents to avoid unnecessary proof; stipulating to the
    authenticity of documents; obtaining advance rulings from the Court on the
    admissibility of evidence; settling the dispute; disposing of pending motions;
    establishing a reasonable limit on the time allowed for presenting evidence; and
    such other matters as may facilitate the just, speedy, and inexpensive disposition of
    the action. See Fed.R.Civ.P. 16(c)-(d).

    VI.     SANCTIONS – The Court will impose sanctions on any party or attorney: 1)
    who fails to attend and to participate actively in the meeting to prepare the Joint
    Pretrial Statement, or who refuses to sign and file the agreed document; 2) who
    fails to attend the Final Pretrial Conference, or who is substantially unprepared to
    participate; 3) who fails to attend the mediation and actively participate in good
    faith, or who attends the mediation without full authority to negotiate a settlement,
    or who is substantially unprepared to participate in the mediation; or 4) who
    otherwise fails to comply with this order. Sanctions may include but are not limited
    to an award of reasonable attorney's fees and costs, the striking of pleadings, the
    entry of default, the dismissal of the case, and a finding of contempt of court. See
    Fed.R.Civ.P. 16(f) and 37; Local Rules 9.05(c), (e); 28 U.S.C. § 1927.

    VI.      TRIAL

             A.     Trial Before District Judge – A case scheduled for trial before a
    United States District Judge normally will be called for trial on the first day of the
    trial term indicated in the above table, or as soon after that date as is possible in
    light of the Court’s felony and civil trial calender.1 Cases not reached for trial in the
    month scheduled will be carried over to the following month on a trailing trial

         1
           This case may be reassigned to a visiting District Judge at any time. In unusual and extraordinary
    circumstances, the Court may re-notice this case for trial shortly before the first day of the trial term if necessary to
    accommodate the trial schedule of the District Judge.

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    calendar, and issued subpoenas will continue in force. Counsel, parties, and
    witnesses shall be available on twenty-four hours notice for trial after the
    beginning of the trial term. A different District Judge or visiting judge may try the
    case. Local Rule 1.03(d). The case may be set for trial in the Orlando Division,
    Tampa Division, Fort Myers Division, Ocala Division, or Jacksonville Division of the
    Court. Local Rule 1.02(e). Absent a showing of good cause, any party whose turn
    it is to provide evidence will be deemed to have rested if, during the hours
    designated for trial, the party has no further evidence or witnesses available.

           B.      Trial Before Magistrate Judge – A case scheduled for trial before a
    United States Magistrate Judge will be called for trial on a date certain. With
    respect to a civil case that remains pending before a District Judge as of the date of
    this order, the United States District Judges of the Middle District of Florida wish to
    afford the parties the opportunity to consent to proceed before a Magistrate Judge.
    Consent must be unanimous. A United States Magistrate Judge is available
    pursuant to 28 U.S.C. § 636(c) and Fed.R.Civ.P. 73(a) to conduct all further
    proceedings in this case (or specified motions in this case), to conduct a jury or
    non-jury trial beginning on a date certain, and to enter final judgment. A party
    may appeal a final judgment of a Magistrate Judge to the United States Court of
    Appeals for the Eleventh Circuit in the same manner as an appeal from the district
    court. 28 U.S.C. § 636(c)(3); Fed.R.Civ.P. 73. A party is free to withhold consent
    without adverse substantive consequences. 28 U.S.C. § 636 (c)(2); Fed.R.Civ.P.
    73(b). Consent forms are attached to this scheduling order. Fed.R.Civ.P. 73(b);
    Local Rule 6.05.

             C.    Settlement – Counsel shall immediately notify the Court upon
    settlement of any case. Local Rule 3.08(a). The parties shall notify the Court of
    any settlement or other disposition of the case which will eliminate the need for a
    jury by 11:30 a.m. on the last business day before the date scheduled for jury
    selection. Failure to do so will subject each party to joint and several liability for jury
    costs. Regardless of the status of settlement negotiations, the parties shall appear
    for all scheduled hearings, including the Final Pretrial Conference and for trial
    absent the filing of a stipulation of dismissal signed by all parties who have
    appeared in the action (or notice of dismissal if prior to answer and motion for
    summary judgment). Fed.R.Civ.P. 41(a).

           DONE and ORDERED in Orlando, Florida on this 12th day of March, 2013




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    Attachments: Exhibit List Form [mandatory form]
                 Instructions for Pre-Marking of Exhibits
                 Magistrate Judge Consent / Entire Case
                 Magistrate Judge Consent / Specified Motions

    Copies to:   All Counsel of Record




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                                                           EXHIBIT LIST
                                   ___ PLAINTIFF              ___ DEFENDANT                    JOINT

                                                     ___ GOVERNMENT___ COURT

                       CASE NO.         _____________________________
                       STYLE:

EXHIBIT   DATE            DATE             SPONSORING              OBJECTIONS /                DESCRIPTION OF EXHIBIT
NO.       IDENTIFIED      ADMITTED         WITNESSES               STIPULATED
                                                                   ADMISSIONS1




             1
                Use a code (e.g. “A”or “*”) in this column to identify exhibits to be received in evidence by agreement without
           objection. Otherwise, specifically state each objection to each opposed exhibit. Please note that each date box
           on the left must be one inch wide to accommodate the Clerk’s date stamp.
        Case 6:12-cv-01928-RBD-GJK Document 17 Filed 03/12/13 Page 17 of 18 PageID 235
AO 85 (Rev. 8/98) Notice, Consent and Order of Reference - Exercise of Jurisdiction of United States Magistrate Judge


                                                   UNITED STATES DISTRICT COURT
                                                    MIDDLE DISTRICT OF FLORIDA
                                                         ORLANDO DIVISION



                                       PLAINTIFF,

-VS-                                                                                                                    CASE NO. 3:12-CV-



                          DEFENDANT.
________________________________________

                               NOTICE OF AVAILABILITY OF A UNITED STATES MAGISTRATE JUDGE
                                                TO EXERCISE JURISDICTION

        IN ACCORDANCE WITH THE PROVISIONS OF 28 U.S.C. 636(C) AND FED. R. CIV. P. 73, YOU ARE HEREBY NOTIFIED THAT A UNITED
STATES MAGISTRATE JUDGE OF THIS DISTRICT COURT IS AVAILABLE TO CONDUCT ANY OR ALL PROCEEDINGS IN THIS CASE, INCLUDING
A JURY OR NONJURY TRIAL, AND TO ORDER THE ENTRY OF A FINAL JUDGMENT. EXERCISE OF THIS JURISDICTION BY A MAGISTRATE JUDGE
IS, HOWEVER, PERMITTED ONLY IF ALL PARTIES VOLUNTARILY CONSENT.

        YOU MAY, WITHOUT ADVERSE SUBSTANTIVE CONSEQUENCES, WITHHOLD YOUR CONSENT, BUT THIS WILL PREVENT THE COURT’S
JURISDICTION FROM BEING EXERCISED BY A MAGISTRATE JUDGE. IF ANY PARTY WITHHOLDS CONSENT, THE IDENTITY OF THE PARTIES
CONSENTING OR WITHHOLDING CONSENT WILL NOT BE COMMUNICATED TO ANY MAGISTRATE JUDGE OR TO THE DISTRICT JUDGE TO WHOM
THE CASE HAS BEEN ASSIGNED.

       AN APPEAL FROM A JUDGMENT ENTERED BY A MAGISTRATE JUDGE SHALL BE TAKEN DIRECTLY TO THE UNITED STATES COURT
OF APPEALS FOR THIS JUDICIAL CIRCUIT IN THE SAME MANNER AS AN APPEAL FROM ANY OTHER JUDGMENT OF A DISTRICT COURT.


                    CONSENT TO EXERCISE OF JURISDICTION BY A UNITED STATES MAGISTRATE JUDGE

        IN ACCORDANCE WITH THE PROVISIONS OF 28 U.S.C. 636(C), AND FED.R.CIV.P. 73, THE PARTIES IN THIS CASE HEREBY
VOLUNTARILY CONSENT TO HAVE A UNITED STATES MAGISTRATE JUDGE CONDUCT ANY AND ALL FURTHER PROCEEDINGS IN THE CASE,
INCLUDING, THE TRIAL, ORDER THE ENTRY OF A FINAL JUDGMENT, AND CONDUCT ALL POST-JUDGMENT PROCEEDINGS.

                   SIGNATURES                                          PARTY REPRESENTED                                     DATE

___________________________________                                  __________________________________ ___________________

___________________________________                                  __________________________________ ___________________

___________________________________                                  __________________________________ ___________________


                                                          ORDER OF REFERENCE

        IT IS ORDERED THAT THIS CASE BE REFERRED TO THE UNITED STATES MAGISTRATE JUDGE FOR ALL FURTHER
PROCEEDINGS AND THE ENTRY OF JUDGMENT IN ACCORDANCE WITH 28 U.S.C. 636(C), FED. R. CIV. P. 73 AND THE FOREGOING CONSENT
OF THE PARTIES.

___________________________________                                     __________________________________________________
          DATE                                                                        UNITED STATES DISTRICT JUDGE

NOTE:    RETURN THIS FORM TO THE CLERK OF THE COURT ONLY IF ALL PARTIES HAVE CONSENTED ON THIS FORM TO THE EXERCISE OF
         JURISDICTION BY A UNITED STATES MAGISTRATE JUDGE.
       Case 6:12-cv-01928-RBD-GJK Document 17 Filed 03/12/13 Page 18 of 18 PageID 236

                                UNITED STATES DISTRICT COURT
                                   MIDDLE DISTRICT OF FLORIDA
                                           ORLANDO DIVISION



                            PLAINTIFF,

-VS-                                                                                           CASE NO.



                     DEFENDANT.
________________________________________

           CONSENT TO EXERCISE JURISDICTION BY A UNITED STATES MAGISTRATE JUDGE
              OVER DISPOSITIVE MOTIONS DESCRIBED UNDER 28 U.S.C. § 636(B)(1)(B)

                              CONSENT TO EXERCISE OF JURISDICTION

      IN ACCORDANCE WITH THE PROVISIONS OF 28 U.S.C. § 636(C) AND FED.R.CIV.P. 73, THE PARTIES IN THIS CASE
CONSENT TO HAVE A UNITED STATES MAGISTRATE JUDGE CONDUCT ANY AND ALL PROCEEDINGS AND ENTER A FINAL
ORDER AS TO EACH MOTION IDENTIFIED BELOW.

         MOTION(S)          _____________________________________________

                            _____________________________________________

       PARTY REPRESENTED                          SIGNATURES                                DATE

___________________________        __________________________________           ______________________

___________________________        __________________________________           ______________________

___________________________        __________________________________           ______________________

                                          ORDER OF REFERENCE

      IT IS ORDERED THAT THE ABOVE MOTIONS(S) BE REFERRED TO THE UNITED STATES MAGISTRATE JUDGE
ASSIGNED TO THIS CASE TO CONDUCT ALL PROCEEDINGS AND ENTER A FINAL ORDER ON SUCH MOTIONS(S) IN
ACCORDANCE WITH 28 U.S.C. § 636(C) AND FED.R.CIV.P. 73.



___________________                                     __________________________________________
     DATE                                                           UNITED STATES DISTRICT JUDGE

NOTE:          RETURN THIS FORM TO THE CLERK OF COURT ONLY IF ALL PARTIES HAVE CONSENTED
               ON THIS FORM TO THE EXERCISE OF JURISDICTION BY A UNITED STATES MAGISTRATE
               JUDGE.
